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     MERGERMARKET (U.S.) LTD.
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 8
                         IN THE UNITED STATES DISTRICT COURT
 9
                         THE NORTHERN DISTRICT OF CALIFORNIA
10

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     RICKY L. APPIN,                              Case No. 1:23-cv-03372-HSG
12
                           Plaintiff,             DEFENDANT MERGERMARKET (U.S.)
13                                                LTD.’s FEDERAL RULE OF CIVIL
           vs.                                    PROCEDURE 7.1 DISCLOSURE
14                                                STATEMENT AND LOCAL RULE 3-15
     MERGERMARKET (U.S.) LTD., a New York         CERTIFICATION OF INTERESTED
15   Corporation, ION TRADING, INC., a New York   ENTITIES OR PERSONS
     Corporation, ACURIS INC., a Delaware
16   Corporation, and DOES 110,
17                         Defendants.
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     CORPORATE DISCLOSURE STATEMENT
     AND CERTIFICACTION OF INTERESTED PARTIES
     4892-8031-8830v.2 0122151-000001
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 1           Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local Rule 3-15 of the
 2   Northern District of California Civil Local Rules, Defendant Mergermarket (U.S.) Ltd.
 3   (“Mergermarket”) hereby files it Corporate Disclosure Statement and Certification of Interested
 4   Entities or Persons.
 5           Mergermarket, a New York corporation, is a wholly owned subsidiary of Mergermarket
 6   USA, Inc. No publicly held corporation owns 10% or more of Mergermarket USA, Inc.
 7           Pursuant to Local Rule 3-15, the undersigned certifies that as of this date, other than the
 8   named parties and Mergermarket USA, Inc., there are no associations, firms, partnerships,
 9   corporations (including parent corporations), or other entities known by Mergermarket to have
10   either: (i) a financial interest of any kind in the subject matter in controversy or in a party to the
11   proceeding; or (ii) any other kind of interest that could be substantially affected by the outcome
12   of the proceeding.
13

14   DATED: July 25, 2023                              DAVIS WRIGHT TREMAINE LLP
                                                       ANNA R. BUONO
15                                                     GIANCARLO UREY
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17                                                     By:
                                                                         Giancarlo Urey
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                                                             Attorneys for Defendant
19                                                           MERGERMARKET (U.S.) LTD.
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     AND CERTIFICACTION OF INTERESTED PARTIES                                                   Fax: (213) 633-6899
     4892-8031-8830v.2 0122151-000001
